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UNITED STATES DISTRICT COURT
DISTRICT OF NEW JERSEY

UNITED STATES OF AMERICA : Hon. Claire C. Cecchi, U.S.D.J.
Vv. : Crim. No. 19-877
MATTHEW BRENT GOETTSCHE, : STIPULATION AND ORDER OF
INTERLOCUTORY SALE AND
Defendant. : MODIFICATION OF POST

INDICTMENT RESTRAINING ORDER
(Gobit LLC’s interest in HIIT Health

LLC)

WHEREAS, on December 5, 2019, a federal grand jury in the District of
New Jersey returned an Indictment (“Indictment”) charging Matthew Brent
Goettsche (“Goettsche”) and others with conspiracy to commit wire fraud,
contrary to 18 U.S.C. § 1343, in violation of 18 U.S.C. § 1349 (Count One); and
conspiracy to offer and sell unregistered securities, contrary to 15 U.S.C. §§
77e and 77x, in violation of 18 U.S.C. § 371 (Count Two);

WHEREAS, the Indictment contained a forfeiture allegation as to Count
One that gave notice of the United States’ intent to forfeit, upon conviction, all
right, title, and interest of Goettsche in all property, real and personal, that
constitutes or is derived from proceeds traceable to the commission of the wire
fraud conspiracy offense, and all property traceable thereto, pursuant to 18
U.S.C. § 98 1(a)(1)(C), and 28 U.S.C. § 2461(c), including “[a]ny and all
ownership interest held in the name, on behalf or for the benefit of Matthew
Brent Goettsche, [and] Gobit LLC ... in the assets of ... HIIT Health LLC” (the

“Subject Asset”);
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WHEREAS, on or about December 9, 2019, the Court entered a Post-
Indictment Restraining Order (“Restraining Order”) restraining Goettsche and
others from transferring or encumbering certain assets, as well as from taking
any action that would diminish the value of the assets, including the Subject
Asset;

WHEREAS, on or about December 11, 2019, the United States served
notice upon all person and entities believed to have an interest in the Subject
Asset;

WHEREAS, on or about July 22, 2021, the United States filed a Third
Forfeiture Bill of Particulars alleging that the assets set forth in the Restraining
Order, including the Subject Asset, are subject to forfeiture in this action
pursuant to Federal Rule of Criminal Procedure 32.2(a), 18 U.S.C. §
981(a)(1)(C), and 28 U.S.C. § 2461(c);

WHEREAS, the value of the Subject Asset is subject to dissipation;

WHEREAS, the United States, Goettsche, Gobit LLC (“Gobit”), LV Health
Trust (“LV Health”), and HIIT Health LLC (“HIIT”) agree that the Subject Asset
should be sold to preserve its value pending a final adjudication on the merits;
and

WHEREAS, the United States, Goettsche, Gobit, LV Health, and HIIT,
have agreed that the Subject Asset is to be sold by Gobit to Salvatore P.
Ercolano, Jr. (“S. Ercolano”) before the conclusion of the forfeiture proceedings,
with the net proceeds of the sale to be held as substitute res pending further

order of this Court;
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WHEREAS, the interlocutory sale of a depreciable forfeitable asset on
consent, and with the Court’s authorization, is authorized by 21 U.S.C. §
853(e)(1) and Fed. R. Crim. P. 32.2(b}(7) (incorporating the provisions of Rule
G(7)(b)(i)-(iv) of the Supplemental Rules for Admiralty or Maritime Claims and
Asset Forfeiture Actions (“Supplemental Rules”));

WHEREAS, 21 U.S.C. § 853(g) confers broad power upon the Court to
take any action necessary to protect the interest of the United States in an
asset named in an order of forfeiture; and

NOW, THEREFORE, it is hereby STIPULATED, ORDERED AND AGREED
by and between the United States, by and through its counsel, Philip R.
Sellinger, United States Attorney for the District of New Jersey, Joseph N.
Minish, appearing; Goettsche individually and on behalf of Gobit; S. Ercolao
individually, and Bryan Ercolano (“B. Ercolano”) on behalf of LV Health and
HIIT (collectively, “Parties”):

1. Goettsche, Gobit, LV Health, and HIIT represent that Gobit has a
20% interest in HIIT.

2. Goettsche, Gobit, LV Health, and HIIT agree that Gobit’s 20%
interest in HIIT is the Subject Asset, as defined above, and therefore subject to
the Restraining Order.

3. S. Ercolano wishes to purchase all of Gobit’s right, title, and
interest in the Subject Asset.

4. Gobit and S. Ercolano represent that they have entered into an

agreement for S. Ercolano to purchase the Subject Asset for $41,250.
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5. Pursuant to Rule 32.2(b)(3) of the Federal Rules of Criminal
Procedure and 21 U.S.C. § 853(g), each of the Parties agree to the interlocutory
sale of the Subject Asset.

6. In furtherance of the interlocutory sale, the Parties agree to
execute promptly any documents which may be required to complete the
interlocutory sale of the Subject Asset.

7. The net proceeds from the sale of the Subject Asset will include all
monies realized from the sale of the Subject Asset.

8. The net proceeds realized from the sale of the Subject Asset, and
any and all income or interest accrued thereon, shall be the substitute res for
the Subject Asset. The net proceeds shall be transferred to the United States at
the closing in accordance with directions to be provided by the United States
Attorney’s Office, Federal Bureau of Investigation, or United States Marshals
Service. The net proceeds shall be deposited and held by the United States
Marshals Service (or its designee) in the asset forfeiture fund pending further
order of the Court. The Restraining Order is hereby deemed amended
accordingly.

9. The substitute res shall be treated as the equivalent of the
Subject Asset and all claims and defenses applicable to the Subject Asset
shall apply to the substitute res. Nothing in this Stipulation shall be
construed to be a waiver of any rights, claims, or interests held by

Goettsche or Gobit in connection with the Subject Asset.
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10. Should Goettsche be convicted of the charges in the Indictment,
upon the disposition of any petitions filed pursuant to 21 U.S.C. § 853, the
Court will enter a Final Order of Forfeiture pursuant to 21 U.S.C. § 853(n)
and 18 U.S.C. § 982(b)(1), in which all interests in the substitute res will be
addressed.

11. LV Health and HIIT understand and agree that they waive any
rights to litigate further their interest in the Subject Asset and further
pursue remission or mitigation of the forfeiture of the Subject Asset.

12. Each of the Parties agrees to bear its costs and attorneys’ fees.

13. Goettsche and Gobit are each hereby barred from asserting any
claim against the United States, its departments and agencies, officers,
employees, and agents, in their individual and official capacities, in connection
with or arising out of, the United States’ actions against and relating to the
Subject Asset.

14. The undersigned individuals signing this Stipulation and Order on
behalf of Goettsche, Gobit, LV Health, HIIT, and S. Ercolano each represent
and warrant that they have full authority to execute this Stipulation and Order.
The United States signatory represents that the undersigned is signing this
Stipulation and Order in his/her official capacity and that the undersigned is
authorized to execute this Stipulation and Order. The undersigned individuals
further represent that each of them has obtained all consents, approvals or
other acts of any kind required to be obtained or done to enable it lawfully to

enter into this Stipulation.
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15. The United States reserves the right, in its discretion, to terminate
the forfeiture at any time and release the Subject Asset. In either event, the

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United States shall promptly notify the other Parties of such action. A

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discretionary termination of forfeiture shall not be a basis for any award of
attorneys’ fees or costs.

16. The signature pages of this Stipulation and Order may be executed
in one or more counterparts and transmitted by facsimile or electronic means.
Counterparts will be deemed an original, and all of them together will
constitute the same instrument.

17. This Stipulation and Order constitutes the completé agreement
between the signatories hereto and may not be amended except|by written
consent thereof.

18. This Court shall retain jurisdiction in this matter to take additional

action and enter further orders as necessary to implement and enforce this

Stipulation and Order authorizing the sale of the Subject Asset. !
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AGREED AND CONSENTED TO BY:

United States of America:

Philip R. Sellinger
United States Attorney

SI WK

 

Bi peeps N. Minish
Sarah Devlin

Assistant United States Attorneys

 

Matthew Brent Goettsche
D

   

C
M

Gobit LLC:

Be

Matthew Brent Goettsche
Managing Member

 

Salvatore P. Ercolano, J r. -

Dated: é/o1/2 i

Dated: 06/15/2021

Dated: 06/15/2021

Dated: 06/15/2021

Dated:
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AGREED AND CONSENTED TO BY:
United States of America:

Philip R. Sellinger
United States Attorney

Dated:

 

By: Joseph N. Minish
Sarah Devlin
Assistant United States Attorneys

Dated: 06/15/2021

 

Matthew Brent Goettsche
Defendant

Rodney Villazor
Counsel for deferNant
Matthew Brent Goe

Gobit LLC:

  
 

Dated: 06/15/2021

 

Dated: 06/15/2021

 

Matthew Brent Goettsche
Managing Member

Dated:

 

Salvatore P. Ercolano, Jr.
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AGREED AND CONSENTED TO BY:
United States of America:

Philip R. Sellinger
United States Attorney

Dated:

 

By: Joseph N. Minish
Sarah Devlin
Assistant United States Attorneys

Dated:

 

Matthew Brent Goettsche
Defendant

Dated:

 

Rodney Villazor
Counsel for defendant
Matthew Brent Goettsche

Gobit LLC:

Dated:

 

Matthew Brent Goettsche
Managing Member

DocuSigned by:

Saluatore P. Erislans, Jr.

4531823 1768E420.. Dated: 6/16/2022
Salvatore P. Ercolano, Jr.
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HIIT Health LLC:

DocuSigned by:

Bryan. Cridlans

088C53F78GAD408... Dated: 6/13/2022
By: Bryan Ercolano
Manager

LV Health Trust:

DocuSigned by:

Bryan. Erians Dated: 6/13/2022

By: Bryan Ercolano
Manager

 
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ORDER
Having reviewed the foregoing Stipulation and good cause appearing,

IT IS HEREBY ORDERED, ADJUDGED, AND DEGREED that the Stipulation is
SO ORDERED.

ORDERED this day of , 2022.

 

 

Hon. Claire C. Cecchi, U.S.D.J.

 
